Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 1 of 15

                 2023-37814 / Court: 165
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 2 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 3 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 4 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 5 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 6 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 7 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 8 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 9 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 10 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 11 of 15
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 12 of 15
   2023-37814 / Court: 165
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 13 of 15
               2023-37814 / Court: 165
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 14 of 15
             2023-37814 / Court: 165
Case 4:23-cv-03139 Document 1-2 Filed on 08/24/23 in TXSD Page 15 of 15
